               1    GIBSON, DUNN & CRUTCHER LLP               GIBSON, DUNN & CRUTCHER LLP
                    Orin Snyder (pro hac vice)                Deborah Stein (SBN 224570)
               2      osnyder@gibsondunn.com                    dstein@gibsondunn.com
                    200 Park Avenue                           Heather Richardson
               3    New York, NY 10166-0193                      hrichardson@gibsondunn.com
                    Telephone: 212.351.4000                   333 South Grand Avenue
               4    Facsimile: 212.351.4035                   Los Angeles, CA 90071-3197
                                                              Telephone: 213.229.7000
               5    Rosemarie T. Ring (SBN 220769)            Facsimile: 213.229.7520
                      rring@gibsondunn.com
               6    Kristin A. Linsley (SBN 154148)           Joshua S. Lipshutz (SBN 242557)
                      klinsley@gibsondunn.com                   jlipshutz@gibsondunn.com
               7    Martie Kutscher (SBN 302650)              1050 Connecticut Avenue, N.W.
                      mkutscherclark@gibsondunn.com           Washington, DC 20036-5306
               8    555 Mission Street, Suite 3000            Telephone: 202.955.8500
                    San Francisco, CA 94105-0921              Facsimile: 202.467.0539
               9    Telephone: 415.393.8200
                    Facsimile: 415.393.8306
           10
                    Attorneys for Defendant Facebook, Inc.
           11

           12

           13                                    UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
           14                                       SAN FRANCISCO DIVISION

           15

           16      IN RE: FACEBOOK, INC. CONSUMER                CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION,
           17                                                    FACEBOOK, INC.’S STATEMENT IN
                                                                 SUPPORT OF PLAINTIFFS’
           18      This document relates to:                     ADMINISTRATIVE MOTION TO
                                                                 CONSIDER WHETHER ANOTHER
           19      ALL ACTIONS                                   PARTY’S MATERIALS SHOULD BE
                                                                 SEALED
           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &      FACEBOOK, INC.’S STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER
Crutcher LLP
                                     WHETHER ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                     CASE NO 3:18-MD-02843-VC
               1          Pursuant to Civil Local Rules 7-11 and 79-5, Facebook, Inc. (“Facebook”) hereby submits
               2   this Statement in Support of Plaintiffs’ Administrative Motion to Consider Whether Another
               3   Party’s Materials Should Be Sealed (Dkt. 1070) (“Administrative Motion”). For the reasons
               4   explained below, there is good cause to seal permanently this information and Facebook’s request
               5   is narrowly tailored under the circumstances.
               6   I. Background
               7          On October 17, 2022, this Court ordered Plaintiffs to file full transcripts of all depositions
               8   of Simon Cross, David Miller, and Michael Fahey, noting that portions of the Cross deposition
               9   were not included in Plaintiffs’ filing on August 24, 2022. Dkt. 1066. On October 28, 2022,
           10      Plaintiffs filed these transcripts under seal and in redacted form. Dkts. 1070, 1071. The Cross
           11      deposition transcripts, filed by Plaintiffs at Dkts. 1070-3–1070-7, are subject to a prior motion to
           12      seal, where Facebook submitted a statement and declaration in support of sealing portions of the
           13      transcripts, along with redacted and sealed copies of the transcripts. See Dkts. 1038, 1038-1, 1038-
           14      2, 1038-8, 1038-16, 1046, 1046-1, and 1046-2. Facebook hereby submits its statement and
           15      declaration in support of sealing portions of these transcripts, and also incorporates by reference
           16      its prior statement and declaration in support of sealing portions of the Cross transcript. Id.
           17      II. The Good Cause Standard Applies Because the Materials Are Unrelated to the Merits
           18             Courts seal information in non-dispositive motions so long as there is good cause to do so
           19      because public disclosure of the information would cause harm or prejudice, and the request is
           20      narrowly tailored. Doe v. Walmart, Inc., 2019 WL 636362, at *1–2 (N.D. Cal. Feb. 11, 2019).
           21      Here, the portions of the deposition transcripts that Facebook seeks to seal are related to the
           22      discovery record, not the merits of this action, so the good cause standard applies.
           23      III. There Is Good Cause for Facebook’s Proposed Redactions and Sealing
           24             Facebook asks the Court to permanently seal the following categories of information:
           25             (i) Confidential information that Facebook has previously asked the Court to seal.
           26      Facebook asks the Court to seal limited portions of the following documents, for which Facebook
           27      previously requested that the Court find good cause to seal, upon which the Court has not yet ruled:
           28         1. Ex. 105 (Combined Cross Deposition Transcript) (Dkts. 1070-3–1070-7). See Dkt. 1038-

Gibson, Dunn &      FACEBOOK, INC.’S STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER
Crutcher LLP
                                     WHETHER ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                     CASE NO 3:18-MD-02843-VC
               1            8 (proposed redactions); Dkt. 1038 (Facebook’s explanation for the proposed redactions),
               2            Dkt. 1046-1 (proposed order listing specific redactions); (Dkt. 1046-2 (declaration listing
               3            specific redactions).
               4            (ii) Confidential information regarding Facebook’s proprietary video technology, data
               5   systems, and data storage and processing practices. As set forth in the Stein Declaration and
               6   Proposed Order, Facebook asks the Court to seal confidential information regarding details about
               7   video technology and the data systems that house specific data and how Facebook stores, tracks,
               8   preserves, deletes, and processes data. This information involves key components of Facebook’s
               9   business that set it apart and ahead of its competitors and reveals confidential technical information
           10      about its video technology, data systems, and proprietary methods for storing and processing data.
           11      Stein Decl. ¶ 5. If this information were publicly disclosed, competitors could use it to improve
           12      their own methods for hosting video content or managing high volumes of user data or for tracking
           13      user data across data systems. Id. Courts routinely seal commercially sensitive information that
           14      “competitors would be able to take advantage of” and use unfairly if disclosed. See, e.g., Asetek
           15      Danmark A/S v. CMI USA, Inc., 2015 WL 4511036, at *2 (N.D. Cal. July 23, 2015). Additionally,
           16      hackers and other bad actors could use this information to better understand Facebook’s data
           17      systems and target specific repositories of data, potentially harming both Facebook and its users.
           18      Stein Decl. ¶ 5. The Court has previously found good cause to seal this type of information. See,
           19      e.g., Dkt. 813 at 26–29 (requesting sealing data system names); Dkt. 844 (granting motion to
           20      seal).
           21               (iii) Confidential and competitively sensitive information regarding Facebook’s business
           22      programs, strategies, decisions, and partners. Facebook asks the Court to seal confidential
           23      information, set forth in the Stein Declaration and Proposed Order, regarding Facebook’s business
           24      programs, strategies, decisions, and partners. Courts routinely seal documents that would reveal
           25      “confidential and competitively-sensitive information” and “confidential business strategies,” as
           26      well as other “proprietary” information, that competitors could use to a party’s competitive
           27      disadvantage. See, e.g., In re Lidoderm Antitrust Litig., 2016 WL 4191612, at * 26–27 (N.D. Cal.
           28      Aug. 9, 2016); In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017). Courts

Gibson, Dunn &      FACEBOOK, INC.’S STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER
Crutcher LLP
                                     WHETHER ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                     CASE NO 3:18-MD-02843-VC
               1   also regularly seal information that would identify confidential business relationships or reveal the
               2   terms of such relationships. See, e.g., Obesity Rsch. Inst., LLC v. Fiber Rsch. Int’l, LLC, 2018 WL
               3   3642177, at *5 (S.D. Cal. Aug. 1, 2019). For these reasons, this Court has previously sealed similar
               4   information. See, e.g., Dkt. 813-1 at 3440 (requesting sealing of the name of a business partner);
               5   Dkt. 844 (granting motion to seal); Dkt. 550 at 2–3; Dkt. 550-1 at 1 (requesting sealing of
               6   information that would give competitors insight into Facebook’s strategy); Dkt. 638 (granting
               7   motion to seal); Dkt. 812 at 3–4 (explaining harm to Facebook from public disclosure of the details
               8   of Facebook’s targeted advertising); Dkt. 844 (granting motion to seal such information). Public
               9   disclosure of this information could allow Facebook’s competitors to copy its strategies, or use the
           10      ideas developed by Facebook at its own expense to Facebook’s competitive disadvantage. Stein
           11      Decl. ¶ 6. Public disclosure also could harm Facebook’s relationships with its business partners
           12      by disclosing their identities and confidential negotiations with Facebook, and undercut
           13      Facebook’s ability to negotiate with these entities’ competitors. Id.
           14             (iv) Confidential information regarding Facebook’s privacy and platform policy
           15      enforcement practices. Facebook asks the Court to seal confidential information, set forth in the
           16      Stein Declaration and Proposed Order, regarding Facebook’s privacy and platform enforcement
           17      practices. Disclosure of information about Facebook’s decision-making process for evaluating
           18      apps and developers that may be violating its policies would reveal confidential details of
           19      Facebook’s internal business operations. Stein Decl. ¶ 7. If this information were revealed, bad
           20      actors could use it to attempt to circumvent and evade Facebook’s enforcement strategies,
           21      potentially harming both Facebook and its users. Id. The Court has previously sealed similar
           22      information for the same reasons. See, e.g., Dkt. 812 (requesting sealing of similar information);
           23      Dkt. 844 (granting motion to seal).
           24      IV. The Proposed Redactions Are Narrowly Tailored
           25             Facebook’s proposed redactions are narrowly tailored because the redactions are limited to
           26      the narrow and limited categories of confidential and proprietary information set forth above. See
           27      Dunbar v. Google, Inc., 2013 WL 12216625, at *1 (N.D. Cal. Aug. 18, 2014) (granting sealing
           28      requests that were “narrowly tailored to protect . . . proprietary information”).

Gibson, Dunn &      FACEBOOK, INC.’S STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER
Crutcher LLP
                                     WHETHER ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                     CASE NO 3:18-MD-02843-VC
               1          For these reasons, Facebook respectfully requests that the Court permanently seal the
               2   materials attached to Plaintiffs’ Administrative Motion as set forth herein and as fully set forth in
               3   the Proposed Order.
               4

               5

               6

               7

               8

               9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &      FACEBOOK, INC.’S STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER
Crutcher LLP
                                     WHETHER ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                     CASE NO 3:18-MD-02843-VC
               1   Dated: November 4, 2022           GIBSON, DUNN & CRUTCHER, LLP
               2                                     By: /s/ Deborah Stein
                                                     Orin Snyder (pro hac vice)
               3                                     osnyder@gibsondunn.com
                                                     200 Park Avenue
               4                                     New York, NY 10166-0193
                                                     Telephone: 212.351.4000
               5                                     Facsimile: 212.351.4035
               6                                     Deborah Stein (SBN 224570)
                                                     dstein@gibsondunn.com
               7                                     Heather Richardson
                                                     hrichardson@gibsondunn.com
               8                                     333 South Grand Avenue
                                                     Los Angeles, CA 90071-3197
               9                                     Telephone: 213.229.7000
                                                     Facsimile: 213.229.7520
           10
                                                     Joshua S. Lipshutz (SBN 242557)
           11                                        jlipshutz@gibsondunn.com
                                                     1050 Connecticut Avenue, N.W.
           12                                        Washington, DC 20036-5306
                                                     Telephone: 202.955.8500
           13                                        Facsimile: 202.467.0539
           14                                        Rosemarie T. Ring (SBN 220769)
                                                     rring@gibsondunn.com
           15                                        Kristin A. Linsley (SBN 154148)
                                                     klinsley@gibsondunn.com
           16                                        Martie Kutscher (SBN 302650)
                                                     mkutscherclark@gibsondunn.com
           17                                        555 Mission Street, Suite 3000
                                                     San Francisco, CA 94105-0921
           18                                        Telephone: 415.393.8200
                                                     Facsimile: 415.393.8306
           19

           20
                                                     Attorneys for Defendant Facebook, Inc.
           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &     FACEBOOK, INC.’S STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER
Crutcher LLP
                                    WHETHER ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                    CASE NO 3:18-MD-02843-VC
